Case 9:12-cv-81397-KAM Document 82 Entered on FLSD Docket 10/23/2014 Page 1 of 12




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                WEST PALM BEACH DIVISION

                      CASE NO. 12-81397 CIV-MARRA/MATTHEWMAN

  SUN CAPITAL PARTNERS, INC.

                Plaintiff,

  v.

  TWIN CITY FIRE INSURANCE COMPANY,

                Defendant,
  ______________________________________/

          SUN CAPITAL’S MOTION FOR CHOICE OF LAW DETERMINATION


         Plaintiff, Sun Capital Partners, Inc. (“Sun”), pursuant to S.D. Fla. L.R. 7.1, hereby moves

  for a determination that Florida law applies to the substantive issues in this insurance coverage

  action against Defendant, Twin City Fire Insurance Company (“Twin City”), and states:

                                        INTRODUCTION

         This is an action for breach of contract arising out of Twin City’s failure to comply with

  its defense reimbursement and liability obligations under an excess “follow form” insurance

  policy (“Policy”) issued to Sun in connection with a lawsuit originally captioned Mervyn’s, LLC

  v. Lubert-Adler & Klaff Partners, LP, et al., No. 08-51402 (Bankr. D. Del. 2008) (“Underlying

  Lawsuit”). Sun’s primary insurance carrier, Houston Casualty Company (“HCC”), paid the full
Case 9:12-cv-81397-KAM Document 82 Entered on FLSD Docket 10/23/2014 Page 2 of 12
                                                  CASE NO. 12-81397 CIV-MARRA/MATTHEWMAN


  amount of its liability for the Underlying Lawsuit thereby causing Twin City’s Policy obligations

  to attach, which it has declined to honor. 1

             Twin City has attempted to thwart payment to Sun by every device it can contrive,

  including arguing that Florida law, which is beneficial to Sun, should not be applied even though

  Sun is a Florida corporation with its principal place of business in Boca Raton, Florida, and both

  the primary HCC policy and the excess Twin City Policy were issued for delivery to Sun in

  Florida. 2 These facts are sufficient under governing law to lay any dispute over which law

  applies to rest.

             In the Southern District of Florida, delivery of the policy generally constitutes the “last

  act” necessary to execute a contract under the applicable lex loci contractus rule. Because the

  Policy was delivered to the named insured at the Florida address listed on the Declarations page,

  the factors governing this Court’s choice of law analysis require application of Florida law.

  Twin City contends that New York law controls solely because it chose to deliver one copy of

  the insurance binder to Sun’s national broker, Marsh, at its New York office, though the binder

  could also have been delivered to any of Marsh’s myriad national offices. Twin City also

  ignores the fact that it simultaneously delivered another copy of the insurance binder to Marsh,

  Sun’s agents, at its Florida office after receiving an authorization to bind coverage executed by

  Sun in Florida. Under these circumstances, the issue is not close; for sound policy and legal

  reasons, Florida law applies to the substantive issues in this insurance coverage action.



  1
    The HCC policy had a $10 million limit, though some monies were paid out of that policy for
  other unrelated litigation matters involving Sun.
  2
    Although the primary policy typically governs the choice of law analysis for a follow-form
  excess policy like Twin City’s, Lee v. Interstate Fire & Cas. Co., 86 F.3d 101, 103 (7th Cir.
  1996), that question need not be decided here because both policies were issued for delivery in
  the same manner.

  S064.101                                            2
  217625_1
Case 9:12-cv-81397-KAM Document 82 Entered on FLSD Docket 10/23/2014 Page 3 of 12
                                                  CASE NO. 12-81397 CIV-MARRA/MATTHEWMAN


                                               ARGUMENT

             A. Choice of Law Rules of the Forum State

             “In determining which law applies, a federal district court sitting in diversity must apply

  the choice of law rules of the forum state.” Trumpet Vine Investments, N.V. v. Union Capital

  Partners I, Inc., 92 F.3d 1110, 1115 (11th Cir.1996). Florida generally applies the rule of lex

  loci contractus in determining what law applies in contract claims. State Farm Mut. Auto. Ins.

  Co. v. Roach, 945 So. 2d 1160, 1163 (Fla. 2006); see also Club Caribe Condo., Ass'n, Inc. v.

  Travelers Excess and Surplus Lines Co., 2012 WL 529972, at *2 (S.D. Fla. 2012). In Roach, the

  Florida Supreme Court stated that it considered and rejected the significant relationships test for

  contracts set forth in Sturiano v. Brooks, 523 So. 2d 1126, 1128–29 (Fla.1988). Roach, 945 So.

  2d at 1163. Rather, the court reaffirmed that lex loci contractus controls.            As applied to

  insurance contracts, “the law of the jurisdiction where the contract was executed governs the

  rights and liabilities of the parties in determining an issue of insurance coverage.” Id.

             B. Florida Law Applies Under Lex Loci Contractus

             Under the lex loci contractus rule, the law of the state where the Policy was executed

  should apply to the substantive issues in this insurance coverage dispute. See Section A, supra.

  The place where the policy was executed is “the place where the last act necessary to complete

  the contract was done.” Shapiro v. Associated Int’l Ins. Co., 899 F.2d 1116, 1119 (11th Cir.

  1990) (quoting Jemco, Inc. v. United Parcel Service, Inc., 400 So. 2d 499, 500 (Fla. 3d DCA

  1981)); see also Sturiano, 523 So. 2d at 1129-30. This Court has held that delivery of the policy

  generally constitutes the “last act” necessary to execute a contract. See Creative Hospitality

  Ventures, Inc. v. U.S. Liability Ins. Co., 655 F. Supp. 2d 1316, 1324 (S.D. Fla. 2009) (under

  Florida law, “[t]he place where the contract was executed is ‘generally considered to be the place



  S064.101                                            3
  217625_1
Case 9:12-cv-81397-KAM Document 82 Entered on FLSD Docket 10/23/2014 Page 4 of 12
                                                 CASE NO. 12-81397 CIV-MARRA/MATTHEWMAN


  where the policy is delivered’”) (quoting Adolfo House Dist. Corp. v. Travelers Prop. and Cas.

  Ins. Co., 165 F. Supp. 2d 1332, 1335 (S.D. Fla. 2001)).

             In Roach, supra., though invited to abandon what has been described as a rigid rule, the

  Supreme Court reaffirmed the continued vitality of lex loci contractus:

             We reasoned that “[w]hen parties come to terms in an agreement, they do so with
             the implied acknowledgment that the laws of that jurisdiction will control absent
             some provision to the contrary.” We concluded that to abandon this principle and
             permit a party to change or modify contract terms by moving to another state
             would unnecessarily disrupt the stability of contracts.

  945 So. 2d at 1164 (discussing the Court’s prior decision in Sturiano, supra.) (internal citations

  omitted)). These principles, as we discuss below, resonate with why Florida law must be applied

  to the resolution of this action.

             The Declarations page of the Twin City Policy lists the Insured as Sun Capital Partners,

  Inc., with a principal address in Boca Raton, Florida, and the Policy Period from December 31,

  2007 to December 31, 2008, “at the address stated [above].” [D.E. 1-1, p. 1 of 19]. In the

  absence of any facts to the contrary, the insured’s address on the face of the policy is sufficient to

  establish the location where the policy was delivered and executed for purposes of determining

  choice of law. See Club Caribe, 2012 WL 529972, at *4; Nova Cas. Co. v. Waserstein, 424 F.

  Supp. 2d 1325, 1331-32 (S.D. Fla. 2006) (“The parties do not dispute that Florida law applies to

  the interpretation of the insurance contract at issue, as the policy was issued and delivered to [the

  insured], a Florida company, in Florida.”). This Court in Club Caribe also relied on the policy’s

  “Sole Agent Provision,” which stated that the insured “shall act on behalf of all insureds with

  respect to the giving and receiving of notice of cancellation or nonrenewal.” 2012 WL 529972, at

  *1. The Twin City Policy includes a similar provision in the Florida Nonrenewal Endorsement,




  S064.101                                          4
  217625_1
Case 9:12-cv-81397-KAM Document 82 Entered on FLSD Docket 10/23/2014 Page 5 of 12
                                               CASE NO. 12-81397 CIV-MARRA/MATTHEWMAN


  which states: “Any notice of cancellation or non-renewal will be mailed or delivered to the

  Insured’s last mailing address known to the Insurer.” [D.E. 1-1, p. 13 of 19].

             Twin City contends in its recent Supplemental Response to Sun’s Motion to Quash

  Subpoenas and/or Motion for Protective Order that New York law controls because “[t]he Policy

  was issued by Twin City to Sun’s brokers in New York.” [D.E. 72, p. 2, n. 2] (citing CNL Hotels

  & Resorts, Inc. v. Houston Cas. Co., 505 F. Supp. 2d 1317, 1320 (M.D. Fla. 2007)). 3 Even if

  this Court were to accept Twin City’s argument and disregard the Southern District case law

  recognizing place of delivery of the policy as the place where the policy was executed under lex

  loci contractus, 4 the binder here was simultaneously delivered to Sun’s national broker and

  agent, Marsh, at both its New York and Florida offices. See Email from Ho-Tay Ma attaching

  Policy Binder, dated December 28, 2007 [Ex. A]. 5 Furthermore, the Authorization to Bind

  coverage was executed by Sun in Florida the day before the binder was issued. See Email from

  Mark Kuchenrither, dated December 27, 2007, attaching Authorization to Bind [Ex. B].




  3
    Although CNL and some other Middle District cases, such as In re Celotex Corp., 194 B.R. 668
  (M.D. Fla. 1996), stress delivery of the insurance binder as the “last act” in the formation of the
  insurance contract, the Southern District has not followed this suggested resolution. See, e.g.,
  Creative Hospitality, 655 F. Supp. 2d at 1324; Club Caribe, 2012 WL 529972, at *4; Waserstein,
  424 F. Supp. 2d at 1331-32. Other Middle District decisions are in line with the Southern
  District’s emphasis on delivery of the policy itself. See, e.g., CAE USA, Inc. v. XL Ins. Co. Ltd.,
  2011 WL 1878160, at *2 (M.D. Fla. 2011) (holding Canadian law applicable under lex loci
  contractus because insurance policy was delivered to insured in Canada); Nat'l Union Fire Ins.
  Co. of Pittsburgh, PA v. Beta Const. LLC, 816 F. Supp. 2d 1256, 1260 (M.D. Fla. 2011)
  (recognizing “several different factors that can be considered to ascertain where the contract was
  executed or where the last act necessary for completion occurred,” and that “courts have relied
  on where the insurance policy was delivered to determine choice of law”).
  4
   See Creative Hospitality, 655 F. Supp. 2d at 1324; Club Caribe, 2012 WL 529972, at *4;
  Waserstein, 424 F. Supp. 2d at 1331-32.
  5
    We have redacted information contained within Exhibits A and B, as they contain sensitive
  financial information, irrelevant to issues addressed in this motion.

  S064.101                                        5
  217625_1
Case 9:12-cv-81397-KAM Document 82 Entered on FLSD Docket 10/23/2014 Page 6 of 12
                                                  CASE NO. 12-81397 CIV-MARRA/MATTHEWMAN


  Accordingly, whether the Court looks to delivery of the policy or delivery of the binder to

  determine where the policy was executed, Florida is the answer.

             Applying lex loci contractus, Florida law should govern questions of coverage arising

  from the policies issued for delivery in Florida. See Industrial Chem. & Fiberglass Corp. v. The

  North River Ins. Co., 908 F.2d 825, 829 n.3 (11th Cir. 1990) (holding that the last act necessary

  to the execution of a policy was “the receipt and acceptance of the policies by the named

  insured”). The parties here bargained for the application of Florida law because that is where the

  Policy was clearly delivered. See Strochak v. Federal Ins. Co., 717 So. 2d 453, 455 (Fla. 1998)

  (holding that because the policy was issued for delivery in Florida, “we must presume that the

  parties to this contract bargained for, or at least expected, Florida law to apply.”); Sturiano, 523

  So. 2d at 1130 (“In the case of an insurance contract, the parties enter into that contract with the

  acknowledgment that the laws of that jurisdiction control their actions. In essence, that

  jurisdiction’s laws are incorporated by implication into the agreement.”).

             Application of Florida law is consistent with Florida’s reasons for adhering to lex loci

  contractus in contract cases.         In Sturiano and Roach, supra., the Florida Supreme Court

  identified two paramount concerns – that the parties be able to readily identify which law applies

  at the moment of contracting, and that the law to be applied not change based on happenstance.

  See Roach, 945 So. 2d at 1164 (“We concluded that to abandon this principle and permit a party

  to change or modify contract terms by moving to another state would unnecessarily disrupt the

  stability of contracts.”). This Court can readily observe the international scope of brokers like

  Marsh,       which    has   offices    in   every   State   as   well   as   internationally.   See,

  http://usa.marsh.com/AboutUs.aspx. It is mere fortuity that a particular Marsh office receives a




  S064.101                                            6
  217625_1
Case 9:12-cv-81397-KAM Document 82 Entered on FLSD Docket 10/23/2014 Page 7 of 12
                                                 CASE NO. 12-81397 CIV-MARRA/MATTHEWMAN


  binder or other form of evidence of policy issuance – a fortuity which could lead to the

  application of laws unrelated to any of the contracting parties or the dispute at issue. 6

             Sturiano hypothesized that in a mobile society, having applicable law change based on

  the whim of an automobile driver was impractical. 523 So. 2d at 1129 (“The very reason

  Sturiano gives as support for discarding lex loci contractus, namely that we live in a migratory,

  transitory society, provides support for upholding that doctrine.”).         Having applicable law

  depend on the location of a broker ignores the nature of an internet-based commercial broker and

  how it functions today. There are lead, sub-brokers and specialty product brokers. One policy

  could involve any or all of these, and many brokers work remotely in places like Seattle or

  Tucson, or even from home offices. We not only live in a mobile society but one which operates

  remotely in far-flung locations. The accident of a broker’s location poses the same risks

  regarding choice of law rejected twice by the Florida Supreme Court. The parties can readily

  apprehend that Florida law be applied to interpretive disputes given Sun’s home office listed on

  the policy declarations, thus avoiding later uncertainty as to which law might govern a dispute,

  especially where there may be a conflict of laws to which we now turn.

             C. There is an Actual Conflict Requiring a Choice of Law Determination

             There is a genuine conflict between the laws of New York and Florida concerning

  interpretation of the Policy; this is not a situation where a false conflict exists. 7 See, e.g., AIG

  Premier Ins. Co. v. RLI Ins. Co., 813 F. Supp. 2d 1315, 1321 (M.D. Fla. 2011) (“A ‘false

  conflict’ exists where the laws of the interested jurisdictions are (1) the same; (2) different but



  6
    Although here, Twin City’s issuance of the insurance binder to Sun’s agent and broker in
  Florida reinforces the application of Florida law based on delivery of the Policy to Sun at its
  Florida address listed on the Declarations page.
  7
    The conflict exists because of defenses to coverage asserted by Twin City; defenses which are
  arguably more robust under New York law as currently perceived by the insurer.

  S064.101                                          7
  217625_1
Case 9:12-cv-81397-KAM Document 82 Entered on FLSD Docket 10/23/2014 Page 8 of 12
                                                 CASE NO. 12-81397 CIV-MARRA/MATTHEWMAN


  would produce the same outcome under the facts of the case; or (3) when the policies of one

  jurisdiction would be furthered by the application of its laws while the policies of the other

  jurisdiction would not be advanced by the application of its laws.”). “A true conflict exists when

  ‘two or more states have a legitimate interest in a particular set of facts in litigation and the laws

  of those states differ or would produce a different result.” Walker v. Paradise Grand Hotel, Ltd.,

  2003 WL 21361662, at *2–3 (S.D. Fla. 2003)).

             There are significant differences between New York and Florida law as they relate to the

  policies. First, Florida has not adopted a particular rule on how to allocate costs and settlement

  amounts under a policy that does not expressly state the method of allocation. While the Twin

  City Policy incorporates an allocation provision, Sun does not believe it applies to the claims in

  this case. 8 Thus, Twin City may argue that allocation under the common law should be permitted

  (though Sun disputes this as well). In an unpublished order, however, the Northern District of

  Florida in determining how to allocate settlement amounts and defense costs under an E&O

  policy that had no allocation clause stated that “settlement amounts and defense costs must be

  allocated between covered and non-covered claims based on the actual facts, overall

  circumstances and economic realities of the underlying litigation.” Fla. Sch. Boards Ins. Trust v.

  United Nat’ Ins. Co., Case No. 4:08cv246-RH/WCS (N.D. Fla. Nov. 24, 2008). In contrast, New

  York courts have allocated loss on the basis of the relative exposure of the respective defendants.

  See Caterpillar, Inc. v. Great Am. Ins. Co., 62 F.3d 955, 961 (7th Cir. 1995). 9



  8
      Sun’s coverage position will be fully briefed on summary judgment.
  9
    Under the relative exposure rule, courts allocate settlement amounts based on a complex
  formula involving a comparison of the potential exposure of the insured and uninsured
  defendant(s) as if the litigation had proceeded to trial. See Caterpillar, 62 F.3d at 961. There are
  other options as well, though discussion of these choices pends briefing on the absence of an
  effective allocation clause in the operative Twin City insurance policy.

  S064.101                                          8
  217625_1
Case 9:12-cv-81397-KAM Document 82 Entered on FLSD Docket 10/23/2014 Page 9 of 12
                                                  CASE NO. 12-81397 CIV-MARRA/MATTHEWMAN


             Second, under Florida law, the insurance company must prove that it made sincere efforts

  to bring about the insured’s cooperation, that those efforts were ignored by the insured, and that

  the insurance company suffered substantial prejudice before an allegedly unauthorized settlement

  will preclude coverage. Harris Specialty Chemicals, Inc. v. United States Fire Ins. Co., 2000

  WL 34533982, at *11 (M.D. Fla. 2000); Holinda v. Title & Trust Co. of Fla., 438 So. 2d 56, 57

  (Fla. 5th DCA 1983). Under New York law, it appears that a showing of prejudice by the insurer

  may not be required. See, e.g., Travelers Indem. Co. v. Eitapence, 924 F.2d 48, 50 (2nd Cir.

  1991). Choice of law for these issues, among others, will likely have an impact on the outcome

  of this coverage litigation.

             D. A Choice of Law Determination Will Conserve Judicial and Litigant Resources

             A choice-of-law determination at this stage of litigation serves the common interest of

  judicial and litigant economy. A choice of law ruling will guide the parties’ motion practice –

  even at the motion to compel stage, as relevancy in turn is influenced by the substantive law to

  be applied – and will certainly influence the parties’ dispositive motions as well as this Court’s

  consideration of the issues being raised.        An early ruling will obviate the need to review

  arguments under both New York and Florida law or to entertain choice of law at a later date. See

  James River Ins. Co. v. Fortress Systems, LLC, 2012 WL 760773, at *3 (S.D. Fla. March 8,

  2012) (addressing choice of law prior to summary judgment and applying Nebraska law under

  lex loci contractus to a policy issued and delivered to the insured in Nebraska).

                                              CONCLUSION

             As set forth above, Florida’s adherence to the doctrine of lex loci contractus requires the

  application of Florida law to the Twin City Policy. Accordingly, Sun respectfully requests that




  S064.101                                            9
  217625_1
Case 9:12-cv-81397-KAM Document 82 Entered on FLSD Docket 10/23/2014 Page 10 of 12
                                                 CASE NO. 12-81397 CIV-MARRA/MATTHEWMAN


   the Court enter an Order finding that Florida law governs the substantive issues in this insurance

   coverage dispute.

                                                 Respectfully submitted,

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                        CERTIFICATION OF GOOD FAITH CONFERENCE

              Pursuant to Local Rule 7.1(a)(3)(A), I hereby certify that counsel for the movant has

   conferred with all parties who may be affected by the relief sought in this motion in a good faith

   effort to resolve the issues, and is authorized to represent that Defendant’s counsel opposes the

   relief sought.




   S064.101                                        10
   217625_1
Case 9:12-cv-81397-KAM Document 82 Entered on FLSD Docket 10/23/2014 Page 11 of 12
                                              CASE NO. 12-81397 CIV-MARRA/MATTHEWMAN


                                   CERTIFICATE OF SERVICE


              I HEREBY CERTIFY that on October 23, 2014, I electronically filed the foregoing

   document with the Clerk of Court using CM/ECF. I also certify that the foregoing document is

   being served this day on all counsel of record identified on the attached Service List via

   transmission of Notice of Electronic Filing generated by CM/ECF.


                                              By: /s/Arya Attari
                                                  Arya Attari




   S064.101                                      11
   217625_1
Case 9:12-cv-81397-KAM Document 82 Entered on FLSD Docket 10/23/2014 Page 12 of 12
                                              CASE NO. 12-81397 CIV-MARRA/MATTHEWMAN


                                        SERVICE LIST
                     Sun Capital Partners, Inc. v. Twin City Fire Insurance Co.
                      CASE NO. 12-81397 CIV-MARRA/MATTHEWMAN

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   S064.101                                     12
   217625_1
